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Thomas M Radke
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CURRiCULUM V:TAE
FBI Expert VVIness


                                             .Rad■e
                              =homas″
                              Federal Bureau of:nvestigation
                              Computer Analysis RespOnse Team(CARD
                              1787 VV Lake Mead Boulevard
                              Las Vegas,Nevada 89106
                              PHONE:702‑5鉾 5572
                              FAX:702‑584‑5528


PROFESS10NAL EXPERIENCE
Dec 2010 -     present        Computer Forensic Examiner (TS-FE)
                              Computer Analysis Response Team
                              Federal Bureau of lnvestigation
                              FBI CART Forensics Laboratory
                              Las Vegas, NV

                              Serve as field computer forensics examiner and previously served as Division CART
                              Coordinator supporting approximately 150 special agents within the FBI Las Vegas
                              Division. Duties include forensic acquisition and examination of physical evidence under a
                              documented quality assurance program that includes annual proficiency testing, and
                              adherence to standard operating procedures.). Responsible for building and maintaining
                              division lab evidence wide area networked comPute6 and servers.

                              Conduct forensic examinations        on computer evidence, carry out       research and
                              development aclivities, perform advanced decryption of evidence items, perform search
                              and seizure and Live Capture operations, and provide instruction and training to new
                              CART Forensic Examiners, Federal Agents, and Oulside Law Enforcement. Certified to
                              perform forensic examinations        on all   Windows based computer systems, all
                              Apple/Macintosh based systems, and all Cell phone/Mobile TableUGPS evidence devices
                              submitted into the Las Vegas Division for forensic examination.

Apr 2oo7   -   Dec   2o1o Computer Forensics Examiner -              LE (Sworn)
                              High Technology Crimes Unit
                              State of Nevada
                              Office of the Attorney General
                              555 E. Washington Ave.
                              Las Vegas, NV

                              Served as a sworn law enforcement officer in the State of Nevada, Office of the Attomey
                              General, High Technology Crimes Unit, and General lnvestigations Unit conducting both
                              computer forensic examinations and criminal investigalions in support of State of Nevada
                              Search and Seizure Wanants related to large White Collar Crimes.

                              Served as a Task Force Ofiicer for the State of Nevada in the U.S. Secret Service Las
                              Vegas Field Office, LVMPD Electronic Crimes Task Force (ECTF). Assigned to General
                              Crimes Unit in support of Mortgage Fraud Task Force.

Sept 2004      -   Apr   2007 Computer Forensics Specialist
                              US Dept of Energy/National Nuclear Security Administration
                              Federal Contraclor/Ncl lnformation Systems
                              Nevada Test Site   -   North Las Vegas, NV
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                       Served as a computer forensics examiner in support of the US Department of
                       Energy/National Nuclear Security Administration's Nevada Site Office infrastructure which
                       includes the Nevada Test Site and NationalAtomic Laboratories. Performed internal audit
                       computer forensics examinations of DOE 'classified" and 'unclassified' systems used by
                       Federal employees and contraclors for fraud, waste, and abuse of government computer
                       systems. lnvolvement in forensic lool testing and validation for internal DOE security
                       compliance. Member of the lnformation Assurance Response Center (IARC) incident
                       response team.

EDUCAT10N
Sept2007-Dec2010 Bachelors of Science Degree, lnformation Systems Security
                       ITT Technical lnstitute
                       Henderson, NV
                       Highest Honors Sept 2010, June, 20'10, Nov 2006,

Feb 2009 - May   2009 State of Neyada, Police Officer Standards Training          (P.O.S.T) Certification
                       Category ll Graduate
                       Law Enforcement Academy
                       Las Vegas, NV

Jan 2002    -Mat 2004 Associate of Applied Science Degree, Computer Network Systems
                       ITT Technical lnstitute
                       Henderson, NV
                       Highest Honors June 2002, Sept 2003

PROFESSIONAL TRAINING

August 2015            訊 ⅣS 5′ 8‑MAC      Fo腱 ″sICS   A″ arysls
                       SANS Virginia Beach 2015
                       Virginia Beach,VA(6 days)

June 2015              SAIVS̀08‑Wrndows Foe,slc Ararysls
                       FB:Northwest Regiona!Computer Forensics Laboratory(剛         RCFL)
                       Portland,OR(6刻 ays)

March 2015             FB′   CART Moor COυ ″rP●cforJ
                       cOrrege Or wjrrlalll&Maγ
                       W‖ bmsburg,VA(5tays)

」u:y2014               Sハ lVS 585‑ハ dvanced Smaゅ 力One Fornslcs
                       SANS San Francisco 2014
                       San Frandsco,CA(6宅 ays)

Ap‖ 12013              F3′ Ce〃 ρ力o● eWobfreDevrce/CPS FO″ nsrcs Cわ ″施 arlo17 COυ おeT"lllわ g
                       Orange County Regional Comptter Forensics Laboratory(OCRCFL)
                       lrvine,CA(7司 ays)

Dec 2012               Maclrlfosh Fomnslcs Su〜 Ⅳar Coυβe rMFSo■ ever′ For Law EaForemerf扁 腱laわ g
                       Suman LLC
                       S‖ icon   Valley Regional Computer Forensics Laboratory(SVRCFL)
                       Menlo Park,CA(5‐ days)

Sept 2012              EllCase FoFrslcs″     frarrtrng cο   ●/se
                       Cuidance SdMare Corp
                       FBI Westem New York Re9ional Computer Forensics LaboratorylWNYRCFL)
                       BufFalo,NY(5宅 ays)
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Aug 2012              SA/VS 558  - Adva nced Netwotk Forcnsics
                      SANS San Francisco 2012
                      San Francisco, CA (6days)

Mar 2012              Access Data FTK Ve6ion 3 for Mac training course
                      Access Data Corp.
                      FBI lnter-Mountain West Regional Computer Forensics Laboratory (IWRCFL)
                      Salt Lake City, UT (3{ays)

Feb 2012              FBI CART M@t Court
                      Chapman University - School of Law
                      Orange, CA (s{ays)


Dec 2011              CART Firewire Taeet Disk Mode (FTDM) lmaging: Macintosh Systems Tnining
                      FBI Computer Analysis Response Team
                      Las Vegas, tW (Setf-Paced Training)

Oct 2011              Case Agent lnvestigative Review (CAIR) training course
                      Access Data Corp,
                      University of Nevada, Las Vegas, NV (1{ay)

Oct 2011              lmage Scan Version 3
                      FBI Regional Computer Forensics Lab National Program Office,
                      University of Nevada, Las Vegas, NV (14ay)

Sept 2011             SANS 408 - Computer Forensic lnvestigations   -   Windows in Depth
                      SANS Network Security 201 1,
                      Las Vegas, NV. (6days)

Aug 2011              X-ways Forcnsics Training
                      X-Ways Sofuvare Technology AG,
                      FBI Westem New York Regional Computer Forensics Lab (WNYRCFL)
                      Buffalo, NY (3days)

」u12011               FTK3 Tnnsition Day Practical Wotkshop
                      Access Data Corp,
                      North Texas Regional Computer Forensics Lab (NTRCFL)
                      Dallas, TX. (1{ay)

Ju1 2011              Forensic Netwotks and CART SAN Administration
                      FBI Digital Evidence Laboratory (DEL), CART Forensic Network Program
                      North Texas Regional Computer Forensics Lab (NTRCFL)
                      Dallas, TX. (2-days)

May 2011              FBI CART Practical's
                      FBI Digital Evidence Laboratory (OEL), Forensic Support Unit
                      Statrord, VA. (s{ays)

Apr 2011             ,Access Data lntemet Forensics (Advanced)
                     Access Data Corp,
                     CART.HQ BWI
                     Baltimore, MD. (3-days)

Feb 2011             Access Oafa Windows Forensics
                     Access Data Corp,
                     CART-HQ BWI
                     Baltimore, MD. (3{ays)
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Feb 2011              Access Data Forensics Bootcamp
                      Access Data Corp,
                      Houston Texas Regional Computer Forensics Lab (HTRCFL)
                      Houston, TX. (Hays)

」an 2011              FBI CART 101
                      FBI Digital Evidence Laboratory (DEL), Forensic Support Unit
                      Stafford, VA. (3{ays)

May 2009              Foundations of Intelligence Analysis Training (FIAT)
                      National White Collar Crime Center (ttW3C),
                      Reno, NV (sdays)
Apr 2007              SAN 504 - Hacker Techniques, Exploits, and lncident Handling
                      SANS Security West 2007
                      San Diego, CA. (6 days)

0ct 2006              FTK lntemet Fo,ensics
                      Access Dala Corp,
                      Las Vegas, NV (3day)

Oct 2005              SAN 508 - System Forensics, lnve'tigation, and Responsa
                      SANS Network Security 2005
                      Los Angeles, CA. (6 days)

Apr 2005              Access Data FTK Forensics Bootcamp (lntemediate)
                      National Center for Forensic Science (NCFS),
                      University of Central Florida, Orlando, FL. (3 days)

Jan 2005              Encase lntetmediate Forcnsics Analysis and Reporting
                      Guidance Software Corp,
                      Las Vegas, NV (4days)

Mar2006               Cyber 325   -   Advanced Windows for lnvestigators Course
                      FBI National Academy,
                      Quantico, VA (5iays)

Aug 2005              Cyter 1 10 - Easlc Computer lntrusion lnvestigations Course
                      FBI National Academy,
                      Quantico, VA (1o{ays)

Jun 2005              lntrcduction to Cyber lnvestigations for Field lntelligence Grcup (FIG) Personnel
                      US Department of Justice/FBl Cyber Division
                       Washington, DC. (3{ays)

PROFESS10NAL AFFILIAT10NS/COMMITTEES
2012‑Present          ルb ber COllsorfrtrm OFDorar FOre12SrC Speclarrsls rCDF,

2009‑Present          Memberわ temarro″ a′ Assο crallon   OFFrna,cla′   C17meS hVesfrgafo●        FC,
                                                                                            ̀船
2005‑Present          Memberわ fragaだ       So● fhe1711VeVada C力aprer rrrvFRACス R②

PROFESS10NAL CERTIFICAT10NS
Apr 2013              cerlrred cxRT Ce″ ρ力οηαCPS Forensrc Examjner―          F3′   Laboraroγ

Dec 20′ 2             Cetted CИ RTス ρρle/Maclnfos力 FO″ ″src Examrrer― F3′ LabOmfory

」an 2012              Cetted CART       И夕■e′ Compυ rer FOttrslc Exal■ lrer― FB′ Laborafory
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」un 2010             Access Data Ceiified Examinq (ACE)     -   Access Data Coryontion (ongoing re-ceftification
                     requircd)

May 2009             Peace Officers' Standads and Training (POS7) Categoty      ll Basb Ceftification -
                     State of Nevada

」an 2007             Secur@ + Ceftitication   -   CompTlA

」u12006              Netwotl< + Ceftification - CompTlA

Apr 2006             A+ Cettilbatbn - CompTlA
